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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

GRACE HUTCHISON, an individual,
Plaintiff,
Vs.
PRINCIPAL FINANCIAL GROUP,
INC., a Delaware corporation, Jesse
Aguilar, an individual, and Does 1
through 10, inclusive,

Defendants.

 

 

 

Pursuant to the stipulation of the parties, the action is dismissed in its entirety

Case No. 2:20-cv-05847-AB (ASx)
(Honorable Audre Birotte Jr.)

ORDER GRANTING
STIPULATION TO DISMISS
ENTIRE ACTION WITH
PREJUDICE

Courtroom: 7B

Complaint Filed: April 4, 2020
Discovery Cut-off: Not Set
Motion Cut-off: Not Set

with prejudice. Parties to bear their own costs and fees.

IT IS SO ORDERED.

Date: September 25, 2020

 

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he Honorable Audre Birotte Jr. United

States District Court Judge

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